           Case 3:25-cv-02225-MMC        Document 9-4       Filed 03/05/25   Page 1 of 4




 1   ANTHONY D. PRINCE, SBN 202892
     GENERAL COUNSEL, CALIFORNIA HOMELESS UNION
 2   LAW OFFICES OF ANTHONY D. PRINCE
 3   2425 Prince Street, Ste. 100
     Berkeley, CA 94705
 4   Telephone: (510) 301-1472
     Email: princelawoffices@yahoo.com
 5
 6   ANDREA M. HENSON, SBN 331898
     WHERE DO WE GO
 7   2726 Martin Luther King Jr. Way
     Berkeley, CA 94703
8
     Telephone: (510) 640-7390
 9   Email: ahenson@wdwg.org

10
     Attorneys for Plaintiffs
11
12
                                   UNITED STATES DISTRICT COURT
13                                NORTHERN DISTRICT OF CALIFORNIA
14
     CALIFORNIA HOMELESS UNION, et al.,          ) Case No.:
15                                               )
                                                 ) DECLARATION OF TIMOTHY
16                  Plaintiffs,
                                                 ) GHOLSTON, RN IN SUPPORT OF
17          vs.                                  ) PLAINTIFFS’ APPLICATION FOR
                                                 ) TEMPORARY RESTRAINING ORDER
18                                               ) AND PRELIMINARY INJUNCTION
     CITY OF FREMONT,                            )
19                                               )
20                  Defendant.                   )
                                                 )
21                                               )
                                                 )
22                                               )
23                                               )
                                                 )
24                                               )
                                                 )
25
26
27
28



     California Homeless Union, et al. v. City of Fremont
     Declaration of Timothy Gholston, RN
           Case 3:25-cv-02225-MMC           Document 9-4       Filed 03/05/25      Page 2 of 4




 1          I, TIMOTHY GHOLSTON, do declare, I have full knowledge of what is in this declaration and if
 2   called to testify would do so competently.
 3
 4      1. I have been a registered nurse for the past 45 years. My Nursing License Number is #RN270413.

 5          I have a bachelors degree in Nursing Sciences from Murray University. Throughout my career I
 6          have worked in almost all aspects of direct primary care for diverse, low-income people. My work
 7
            has ranged from managing acute illness and injury in emergency rooms and primary care to
8
            addressing clients’ psychosocial needs and accessing services through intensive case management
 9
10          and social services.

11      2. I have reviewed the City of Fremont’s newly-enacted Municipal Code Chapter 8.90, and based on
12
            my training and experience, as described below, I believe that the ordinance poses a public health
13
            emergency because it criminalizes the possession of property necessary for survival for unhoused
14
            people.
15
16      3. For the past 25 years, my primary role has been as a public health nurse with focus on the field of

17          homeless health services. I have worked and developed programs for over 25 years in Santa Cruz,
18
            Santa Barbara, Oakland, San Francisco, Watsonville and Portland, Oregon in health services
19
            focused on unsheltered and unstably- housed people. I have provided medical and social services
20
21          to unhoused people in urban, suburban, and rural environments and am intimately aware of the

22          general health challenges, and barriers to housing, that unhoused people face. I also have
23          established medical programs internationally and have helped establish and operate health clinics
24
            the Carribbean and Africa.
25
        4. During much of that time, my role included complex medical case management that for homeless
26
27          women that included both direct medical services and triage to social programs to obtain housing

28


     California Homeless Union, et al. v. City of Fremont
     Declaration of Timothy Gholston, RN
                                                                                                            -2
           Case 3:25-cv-02225-MMC           Document 9-4       Filed 03/05/25      Page 3 of 4




 1         and shelter. I understand the challenges, opportunities, and systems that homeless women
 2         generally face when attempting to access these services.
 3
        5. In my practice, I regularly review, consider, and apply scholarly peer reviewed research in fields
 4
           of medicine and the social sciences to the services provided to unhoused clients.
 5
 6      6. Based on my training and experience, I can authoritatively state that unhoused people need to use

 7         blankets, tents, and tarps to survive their experience of homelessness. Staying warm and dry is a
8
           biological necessity, because chronic cold causes cardio-vascular impairment through persistent
 9
           restriction of blood vessels throughout the body. Persistent cold impairs the functions of the
10
           body’s organs resulting in cold-related injury, illness, and premature death. This is compounded
11
12         by the fact that unhoused people often have complex disabilities and chronic conditions, which

13         are doubly impaired by chronic cold that occurs either being unsheltered at night or during period
14
           inclement weather.
15
        7. Underscoring this fact, scientific research demonstrates that chronic exposure to the cold is a
16
17         major predictor of premature mortality for unsheltered people - See [Romaszko J, Cymes I,

18         Dragańska E, Kuchta R, Glińska-Lewczuk K (2017) Mortality among the homeless: Causes and
19         meteorological relationships. PLoS ONE 12(12): e0189938.
20
           https://doi.org/10.1371/journal.pone.0189938]
21
        8. Accordingly, based on my training and experience, the City of Fremont’s prohibition on
22
23         possession of blankets, tents, sleeping bags, tarps poses a major threat to the health of unhoused

24         people, and will result in unhoused people deprived of these survival necessities to experience
25
           cold related injury and related mortality.
26
        9. Also, the fact that the ordinance criminalizes of “aiding” or “abetting” “camping” or “storage”
27
28         poses a direct peril to the unhoused who rely on street medicine, outreach workers, and donations.



     California Homeless Union, et al. v. City of Fremont
     Declaration of Timothy Gholston, RN
                                                                                                             -3
           Case 3:25-cv-02225-MMC           Document 9-4        Filed 03/05/25      Page 4 of 4




 1          In my practice as a nurse, I have provided these survival necessities to unhoused people as
 2          medical instruments to ensure their survival outdoors. Many nurses and healthcare practitioners
 3
            who provide unhoused people survival gear will be discouraged from providing these necessities
 4
            because of the ordinance, which will increase the rate unhoused people lack survival gear, and
 5
 6          subsequently injured or succumb to the elements.

 7      10. Based on my training and experience, Fremont’s ordinance will increase the amount of violence
8
            faced by unhoused women who will foreseeably be compelled to leave encampments where I
 9
            have observed they are protected by other campers from sexual assault and domestic violence
10
            perpetrators from whom many homeless women have fled. This is hardly speculative: according
11
12          to the UC Benioff study on homelessness, 42% of unhoused women are victims of violence in any

13          given year, 49% of violent crimes against unhoused people are committed by strangers and 16%
14
            of unhoused women experience sexual violence every given year. [Kushel, M. (2023) "The
15
            California Statewide Study of People Experiencing Homelessness". UCSF Benioff Homelessness
16
17          and Housing Initiative.] See Jasinski et al. 2005, 55) and “The Experience of Violence in the

18          Lives of Homeless Women” published in the American Journal of Public Health.
19      11. In sum, based on my education, experience and familiarity with the specifics of homelessness in
20
            Fremont, my professional opinion is that if enforced, Chapter 8.90, will have a catastrophic effect
21
            on the City’s unhoused, unsheltered residents.
22
23      I swear under penalty of perjury under the laws of the United States that the foregoing is a true
24
     statement based on personal knowledge.
25
26
            Dated: March 2, 2025                                         /s/ Timothy Gholston, RN
27
            Executed at Vallejo, CA
28


     California Homeless Union, et al. v. City of Fremont
     Declaration of Timothy Gholston, RN
                                                                                                              -4
